                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ABINGDON DIVISION
    

   UNITED STATES OF AMERICA                        )
                                                   )     Case No. 1:16CR00041-005
                                                   )
   v.                                              )     OPINION AND ORDER
                                                   )
                                                   )
   KEVIN THOMAS SEIGLER,                           )     By: James P. Jones
                                                   )     United States District Judge
                    Defendant.                     )

         Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
   United States; Samuel E. White, Tri-Cities Law Firm, Kingsport, Tennessee, for
   Defendant.

         A jury convicted the defendant, Kevin Thomas Seigler, of conspiring to

   distribute methamphetamine and use a communication facility to facilitate a drug

   trafficking offense. The defendant has filed a Renewed Motion for Acquittal

   pursuant to Federal Rule of Criminal Procedure 29, arguing that the evidence at

   trial was insufficient to show that he knowingly joined the charged conspiracy.

   Seigler, who sold a large quantity of methamphetamine in Nevada to a

   coconspirator, contends that the evidence did not show that he had specific

   knowledge that the methamphetamine was further distributed to Virginia. For the

   reasons that follow, I will deny the defendant’s motion.




                                              
    
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                                           I.

         The following facts are presented in the light most favorable to the

   government.

         In 2011 or 2012, Bradley Chapman began helping his father-in-law, Richard

   Kayian, distribute oxycodone and methamphetamine in and around Abingdon and

   Glade Spring, Virginia. Chapman testified that Kayian, who had lived in Las

   Vegas, Nevada, coordinated the shipping of packages of oxycodone and

   methamphetamine from Las Vegas to Chapman, Brandon Stone, and Tracy

   Callihan, in Virginia. Chapman, Stone, and others would then sell the drugs in

   Virginia. Chapman would send the proceeds from the drug sales to Kayian and

   another individual in Las Vegas, Steven Cino.

         Agents working for the Drug Enforcement Agency (“DEA”) in the Western

   District of Virginia notified the Las Vegas Police Department (“LVPD”) that Cino

   may be involved in drug distribution. The DEA and the LVPD began surveilling

   Cino’s phone conversations. On March 8, 2016, the LVPD intercepted a phone

   call from Callihan to Cino, in which Callihan told Cino that money was coming

   and he wanted “two.” On the same day, the LVPD intercepted a phone call from

   Cino to Seigler, in which Cino requested “two” and to meet Seigler the next day.

   On March 9, 2016, the LVPD begain surveiling Cino. They observed him enter

   Seigler’s home in Las Vegas and later leave with a bag that he put in the trunk of


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   his vehicle. Officers stopped Cino’s vehicle and found approximately two pounds

   of methamphetamine in the bag in the trunk. A search warrant was obtained for

   Seigler’s home, in which officers found over $19,000, and items typically used for

   drug distribution, including digital scales and bags. Seigler was arrested and

   charged in this court with the conspiracy now at issue.

                 At the conclusion of the government’s case in chief, Seigler moved for a

   judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29, arguing

   that the evidence was insufficient to show that he knowingly joined the charged

   conspiracy.                      I denied the motion, and the jury found the defendant guilty.

   Thereafter, Seigler filed the present motion, which has been briefed and is ripe for

   decision.1

                                                                  II.

                 On review of a motion for a judgment of acquittal under Rule 29, the court

   “must sustain the verdict if there is substantial evidence, viewed in the light most

   favorable to the Government, to uphold the jury’s decision.” Burks v. United

   States, 437 U.S. 1, 17 (1978). In the context of a criminal conviction, substantial

   evidence is evidence that “a reasonable finder of fact could accept as adequate and

   sufficient to support a conclusion of a defendant’s guilt beyond a reasonable
                                                               
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             I will dispense with oral argument because the facts and legal contentions are
   adequately presented in the materials before the court and argument would not
   significantly aid the decisional process.

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   doubt.” United States v. Newsome, 322 F.3d 328, 333 (4th Cir. 2003).2 The court

   should consider “circumstantial as well as direct evidence, and allow the

   government the benefit of all reasonable inferences from the facts proven to those

   sought to be established.” United States v. Tresvant, 677 F.2d 1018, 1021 (4th Cir.

   1982).

                 Here, Seigler contends that the evidence at trial was insufficient to convict

   him of the charged conspiracy because it did not show that he had specific

   knowledge that the methamphetamine at issue was ultimately being distributed to

   Virginia. According to Seigler, knowledge of this fact “goes to the essence of the

   conspiracy,” Renewed Mot. for Acquittal ¶ 7, and without it, he could not have

   knowingly joined the conspiracy.3

                 To establish a conspiracy, the government must prove that at some time

   during the dates charged, two or more persons entered into an agreement or

   understanding with the purpose of undertaking the prohibited conduct, and the

   defendant voluntarily joined the conspiracy knowing its purpose and intending to

   help accomplish that purpose. United States v. Mills, 995 F.2d 480, 483 (4th Cir.

   1993).
                                                               
                 2
            I have omitted internal quotation marks, citations, and alterations throughout this
   opinion, unless otherwise noted.
                  
                 3
              In his original oral motion for judgment of acquittal at trial, the defendant
   expressly disclaimed any attack on the venue of this prosecution. He simply argued, as
   he does again, that there was insufficient evidence that he was part of the conspiracy
   charged.
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         The Fourth Circuit’s holding regarding the government’s evidentiary burden

   in conspiracy cases set forth in United States v. Garcia, Nos. 94-5117, 94-5118,

   94-5119, 1996 WL 55992 (4th Cir. Feb. 9, 1996) (unpublished), is instructive in

   this case. In Garcia, the defendant argued that although the evidence may have

   shown that he was involved in small drug transactions in Florida, a rational jury

   could not find that he voluntarily joined the charged conspiracy to transport drugs

   to Virginia and Ohio. 1996 WL 55992, at *13. In response to this argument, the

   court stated:

         We disagree with Garcia’s characterization of the Government’s
         evidentiary burden in his case. Again, we reiterate that specific
         knowledge of the drug’s ultimate destination is not an element of the
         crime of conspiracy. The Government thus was not required to show
         that Garcia intended the cocaine that he sold in Naples to be
         transported to Virginia and Ohio. Rather, the Government showed
         that Garcia voluntarily participated in the conspiracy even if he was
         unaware of the location of the ultimate consumer market. Moreover,
         as we have observed, members of a single conspiracy do not always
         know its full scope. The indictment’s reference to the resale of the
         cocaine in Virginia simply established a proper venue for the trial; it
         did not add an element to the offense of conspiracy.

   Id. Moreover, the government’s evidence had shown that the Florida distribution

   network with which the defendant had been associated had in fact distributed drugs

   to Virginia. In light of this, the court stated, “[o]nce the Government established

   the existence of the conspiracy, all that was required to convict Garcia was proof of

   a slight connection between Garcia and the conspiracy.” Id.



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         Likewise, other courts have found the evidence sufficient to convict

   defendants of the conspiracies charged against them, even when the defendants had

   no knowledge of remote links in the conspiracies. E.g., United States v. Donnell,

   596 F.3d 913 (8th Cir. 2010). In Donnell, the court found that the evidence was

   sufficient to show that the defendant was a member of a “chain conspiracy.” Id. at

   924.  The court said of a chain conspiracy:

         [I]n the typical drug distribution conspiracy you may find a
         manufacturer who produces the product; a supplier who buys the
         contraband from the producer; [and] distributors who buy from the
         supplier and sell to smaller dealers or users. . . . Whatever the
         product, the purpose of the conspiracy is to put the commodity into
         the hands of the ultimate consumer. The success of the group as a
         whole is dependent upon the ability of each member to fulfill his
         responsibilities. Thus, . . . the defendants’ knowledge of the existence
         of remote links in the chain may be inferred solely from the nature of
         the enterprise.

   Id. (quoting United States v. Rosnow, 977 F.2d 399, 406 (8th Cir. 1992)).

         The facts and arguments in this case mirror those in Garcia and Donnell.

   Although the evidence did not show that Seigler knew that the drugs he sold to

   Cino were being distributed in Virginia, “specific knowledge of the drug’s ultimate

   destination is not an element of the crime of conspiracy.” Garcia, 1996 WL

   55992, at *13. Rather, “all that was required to convict [Seigler] was proof of a

   slight connection between [him] and the conspiracy.” Id. The evidence was

   sufficient to make this showing.     It showed that Seigler supplied distribution

   quantities of drugs to Cino, who coordinated their shipment to Kayian and Callihan
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   in Virginia, where they were then sold. Thus, it showed that Seigler was a supplier

   in a chain conspiracy, the purpose of which was to put drugs from Nevada in the

   hands of ultimate consumers in Virginia. Accordingly, the evidence was sufficient

   to convict Seigler of the charged conspiracy.

                                           III.


         For the foregoing reasons, it is ORDERED that the defendant’s Renewed

   Motion for Acquittal, ECF No. 1143, is DENIED. 



                                                   ENTER: March 28, 2019

                                                   /s/ James P. Jones
                                                   United States District Judge




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